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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                          Plaintiff,                  Case No. 17-cr-20188

v.                                                    Hon. Victoria A. Roberts

D-1 VIOREL PRICOP

                     Defendant.
____________________________________/


            GOVERNMENT’S SENTENCING MEMORANDUM

      Defendant Viorel Pricop is a victim of his own greed. When Defendant’s

legitimate income no longer satisfied him, Defendant made the conscious decision

to supplement his earnings through illegal activity. Defendant’s choice to engage

in illegal conduct was his alone. For the reasons stated below, the government

recommends a sentence of imprisonment of 27 months, followed by a term of

supervised release, and restitution of $501,956.00.

I.    FACTUAL AND PROCEDURAL HISTORY

      Defendant Viorel Pricop owned and operated Twin Twisters Trucking and

Good Time, LLC. (PSR ¶ 73). In or about 2013, IRS-CI opened an investigation

into Defendant and his businesses. (PSR ¶ 23). As part of its investigation, IRS-CI

reviewed numerous financial records, including, but not limited to, FinCEN filings,


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bank and credit card account records, and tax returns filed by Defendant and his

wife Mihaela for income tax years 2010 through 2013. (PSR ¶ 24).

          Unappreciated at the time, IRS-CI’s investigation overlapped with a 2014

private insurance investigation into merchandise stolen from tractor-trailers along

Interstate 40 in New Mexico and Arizona. (PSR ¶ 11). As part of this investigation,

investigators deployed several bait trailers equipped with cameras and

merchandise. (PSR ¶¶ 12-14). During a breach of a bait trailer in August 2014, a

camera1 captured an individual, who appeared to be defendant, enter the trailer in

the dark, holding a flashlight in his mouth, and analyzing the contents of the trailer

before fleeing. (see PSR ¶ 12). In February 2015, a bait trailer in Moriarty, New

Mexico was breached, likely with a cutting device, and an individual removed

several pallets of Bose sound systems, including items containing tracking devices.

(PSR ¶ 14). Using the embedded tracking devices, insurance investigators, in

cooperation with local law enforcement, tracked the Bose merchandise to a storage

facility in Michigan. (PSR ¶ 15).

          Michigan State Police (MSP) responded to the storage facility, and observed

Defendant, his tractor-trailer, and another individual outside Defendant’s storage

unit. (PSR ¶ 16). A search of Defendant’s tractor-trailer and storage unit revealed

the stolen Bose stereo equipment, along with several stolen Samsung televisions.


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    A copy of the recording is available for review.
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(PSR ¶ 16). Subsequent search warrants executed at Defendant’s home and pole

barn revealed additional stolen merchandise. (PSR ¶ 21).

      Defendant initially told MSP that all of his cargo was legitimate and that he

possessed a bill of lading for the Bose sound systems. (PSR ¶ 17). When

questioned about the authenticity of the purported bill of lading, Defendant

changed his story and admitted that he picked up the stolen items from an

individual in New Mexico and transported them to Michigan. (PSR ¶ 18).

Defendant admitted that he engaged in this activity once every two or three weeks

and that he was paid approximately $3,000 per trip. (PSR ¶ 18). On February 18,

2015, Defendant arranged to meet with MSP at the Brighton post that afternoon.

(PSR ¶ 20). Defendant never appeared for the meeting; according to defendant, he

was “on vacation.” (R. 48, p. ID 280).

      Defendant’s sentencing memorandum minimizes and makes excuses for his

illegal conduct, suggesting that his possession of stolen property was “quite

legitimate” and explaining that drivers exchange parts of loads on the road, even

“under cover of darkness.” (R. 50, p. ID 299). Under the circumstances, and in

light of Defendant’s own admissions to transporting stolen property, these

explanations are illogical.

      Ultimately, the analysis conducted by IRS-CI in its parallel criminal

investigation revealed the fruits of Defendant’s illegal activity. Defendant


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underreported his total income on his federal income tax returns for the 2010

through 2013 income tax years and failed to file a tax return for the 2014 tax year.

Specifically, Defendant reported his net income as follows: $59,289 (2010),

$61,649 (2011), $57,308 (2012), and $51,187 (2013) when his actual income was

significantly higher. (see PSR ¶ 73). As a result, Defendant owes at least

$501,956.00 in taxes. (PSR ¶ 26; R. 46, p. ID 240).

      Defendant knew that he was not reporting all of his income on his tax

returns. His lifestyle establishes this. One need only look at the long list of lavish

purchases made by Defendant and his wife during the relevant tax years. For

example, in 2012 Defendant identified net income of $57,308 on his federal

income tax return. During the same tax year, Defendant’s wife deposited $113,153

cash into a Ferrari bank account for the purchase of a Ferrari. (R. 21, p. ID 104).

Agents found this Ferrari parked at Defendant’s home in February 2015. (PSR

¶ 21). Similarly, in 2013, Defendant identified net income of $51,187 on his

federal income tax return. However, during the same tax year Defendant and his

wife deposited $200,000 cash and purchased a $197,000 cashier’s check, which

they used to purchase real property located near their home in Milford, Michigan.

(R. 21, p. ID 105). Defendant did not file taxes for the 2014 tax year. (R. 21, p. ID

107). However, during 2014, Defendant’s wife used significant amounts of

currency to purchase a Mercedes-Benz. (R. 21, p. ID 105). Agents subsequently


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seized this Mercedes. (PSR ¶ 21). These are but a few of the numerous examples of

Defendant’s lavish spending. (see also PSR ¶ 21).

       Defendant knew his total income was higher than reported—the proceeds of

his criminal activity were all around him—in his home, in his garage, and at a

recently purchased nearby home. Despite this, Defendant attempts to place the

blame for his criminal tax returns on his wife Mihaela and her poor accounting

skills.2 However, Defendant admitted at his Rule 11 hearing that he assisted his

wife to prepare a joint income tax return that reported less income than he actually

received. Defendant’s sentencing memo also suggests that he does not trust banks;

and therefore, liked to save his money at home. (R. 50-2, p. ID 309). The IRS-CI

agent’s review and analysis of this case suggests otherwise. As part or her analysis,

the IRS-CI agent reviewed records from seven different bank accounts held by

Defendant, his wife, his children, and his businesses. (see PSR ¶ 24).

       On March 28, 2018, Defendant pleaded guilty to Counts Three and Twenty-

Four of the twenty-five count Indictment, which charges him with interstate

transportation of stolen property in violation of Title 18, United States Code,

Section 2314 and aiding or assisting the filing of a false income tax return, in




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  Defendant implies that he was charged as an aider and abettor because he was less culpable
than his wife, Mihaela. (R. 50, p. ID 300). This is not the case. The United States charged both
Defendant and Mihaela Pricop with violation of 26 U.S.C. § 7206(2) because both of them were
equally culpable for the offense.
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violation of Title 26, United States Code, section 7206(2). The Rule 11 Agreement

anticipated a United States Sentencing Guidelines’ (the “Guidelines”) range of 21-

27 months, based on a total offense level of sixteen (after acceptance of

responsibility) and a Criminal History Category I. (R. 46, p. ID 237, 254).

II.   SENTENCING GUIDELINES CALCULATION AND RELEVANT
      § 3553(a) FACTORS

      Title 18, United States Code, Section 3553(a) provides the relevant

objectives and factors to be considered by sentencing courts when determining a

“sentence sufficient, but not greater than necessary.” Those objectives are: (1) the

nature and circumstances of the offense, and the history and characteristics of the

defendant; (2) the need for a sentence to reflect the basic aims of sentencing

(including the seriousness of the offense, deterrence, and rehabilitation); (3) the

kinds of sentences legally available; (4) the Guidelines; (5) Sentencing

Commission policy statements; (6) the need to avoid unwarranted sentencing

disparities among defendants with similar records who have been found guilty of

similar conduct; and (7) the need for restitution. The most relevant factors to

Defendant’s case are discussed here.

      A.     The Advisory Guidelines’ Range

      Although advisory, the Guidelines remain an important factor under section

3553(a) when determining an appropriate sentence. As the Supreme Court noted in

Rita v. United States, 551 U.S. 338, 350 (2007), “it is fair to assume that the
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Guidelines, insofar as practicable, reflect a rough approximation of sentences that

might achieve section 3553(a)’s objectives.” Id. at 350.

      In the Rule 11 Agreement, the parties calculated the Guidelines’ range at 21-

27 months. The Guidelines assign a base offense level of nineteen to the offense at

issue (Guidelines §§2T1.4, 2T4.1). A three-level reduction for acceptance of

responsibility results in a total offense level of sixteen. (Guidelines § 3E1.1.)

Defendant has a Criminal History Category I. This results in the agreed upon 21-27

month Guidelines’ range. (R. 46, p. ID 237, 254). This is consistent with the

Probation Officer’s PSR, which calculated the same Guidelines’ Range. (PSR

¶ 77). This is the appropriate starting point from which to consider Defendant’s

sentence.

      B.     The Nature and Circumstances of the Offense and the History
             and Characteristics of the Defendant - 18 U.S.C. § 3553(a)(1).

      Both of Defendant’s offenses resulted from greed. Defendant admittedly

stole merchandise from another truck and transported that merchandise to his own

storage facility. By his own admissions, Defendant earned approximately $3,000

every two to three weeks for transporting stolen merchandise. In addition,

Defendant underreported, or failed to file, income taxes during five consecutive tax

years. The resulting $501,956 in tax loss is significant. In fact, for the average

American taxpayer, a half million dollars represents years of hard earned income.

      The Government does not dispute that Defendant came to the United States

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and worked hard to achieve success for himself, and later, his family. Nor does the

Government dispute that Defendant earned legitimate income from Twin Twisters

Trucking. Despite this, Defendant decided that what he had accomplished was not

enough, and he engaged in the conduct at issue in this case. Looking at the facts as

a whole, Defendant’s actions were not an isolated lapse in judgment; rather, they

constituted a pattern of conduct that spanned many years and resulted in a lavish

lifestyle only dreamed of by the average hard working American. For these

reasons, a sentence at the top of the Guidelines’ range is appropriate.

      In addition, any sentence imposed should include a term of supervised

release. Defendant fled the United States in February 2015 and has been in custody

since he attempted to return in April 2016. By his own statements, Defendant has

lost his business and is separated from his family. Without his business and family

to support him, the transition back to civilian life will be difficult. A period of

supervised release will help ease this transition and could provide Defendant with

the additional resources he needs to make the transition. (See PSR ¶ 99).

      C.     Seriousness of the Offense, Promoting Respect for the Law, and
             Providing Just Punishment - 18 U.S.C. §§ 3553(a)(2)(A).

      Both of Defendant’s offenses have real consequences, not only to the direct

victims of the offenses, but also to society as a whole. Property crimes, like the

theft that occurred here, not only result in the direct economic losses immediately

suffered by the victims, but ultimately translate into increased overall costs of

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doing business and higher prices for consumers. Similarly, willfully cheating on

your federal income tax return not only denies revenue to the United States, but

also discourages voluntary compliance by other citizens. In short, for our system of

taxation to work, individual taxpayers must honestly report their income to the

government. The system will fail if taxpayers do not have confidence that their

fellow citizens are also paying their fair share.

      D.     The Sentence Imposed Must Afford Adequate Deterrence to
             Criminal Conduct - 18 U.S.C. § 3553(a)(2)(B).

      Deterrence is an important consideration when fashioning a sentence to

persuade Defendant from continuing to engage in criminal behavior and to

discourage others from engaging in the same activity. United States v. Phinazee,

515 F.3d 511 (6th Cir. 2008); United States v. Blackwell, 459 F.3d 739, 774 (6th

Cir. 2006) (sentencing in the federal system has long contemplated the ability to

provide both specific and general deterrence). Defendant’s age and short criminal

record suggest that a custodial sentence could deter future criminal conduct. In

addition, general deterrence occupies a particularly important role in sentencing in

both theft cases and criminal tax cases.

      The Guidelines Manual recognizes general deterrence in relation to tax

cases, and states that “[b]ecause of the limited number of criminal tax prosecutions

relative to the estimated incidence of such violations, deterring others from

violating the tax laws is a primary consideration underlying these guidelines.”

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(Guidelines, § 2T1.1, Introductory Commentary). As described above, our nation’s

tax system depends on voluntary and honest compliance. Imposing a sentence of

imprisonment on individuals who willfully cheat on their taxes promotes voluntary

compliance by making it clear to the public that there are consequences for filing

false tax returns. In order to deter individuals from cheating on their taxes, a

convicted individual must be punished, so that others do not decide that the

rewards of violating the law exceed the possible punishment. The same rationale

applies to theft offenses.

       In sum, the sentence imposed by the Court should serve not only as a

deterrent to Defendant, but as a deterrent to anyone who contemplates stealing or

lying on a tax return. In light of these considerations, a sentence of imprisonment

at the top of the Guidelines’ range is appropriate.

III.   CONCLUSION

       The section 3553 factors combined with the advisory Guidelines provide

considerations that assist the Court in determining an appropriate sentence. Here,

the Court should consider the nature and circumstances of the offense, the need for

the sentence imposed to reflect the seriousness of the offense, promote respect for

the law, and provide both general and specific deterrence. In this instance, these

factors weigh in favor of a sentence of 27 months, which is at the top of the

Guidelines’ range. In addition, the Government recommends that the Court impose


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a term of supervised release and order Defendant to pay restitution to the United

States Treasury in the agreed amount of $501,956.


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                                      United States Attorney


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 Dated: June 22, 2018




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                         CERTIFICATE OF SERVICE

      I hereby certify that on June 22, 2018, the Government’s Sentencing

Memorandum was electronically filed with the Clerk of the Court using the ECF

system, which will send notification of such filing to all ECF participants,

including:

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